CaSe 1-19-42121-nh| DOC 1 Filed 04/09/19 Entel’ed 04/09/19 17258229

Fill in this information to identify the cases

 

united states Bankruptcy Coun for rhe:
District of
(stare)
* Case number (lrknown)~. Chapter n Check if this is an

amended filing

 

Officia| Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 04/19

lf more space ls needed, attach a separate sheet to thls fonn. On the top of any additlonal pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Fonns for Non-lndividuals, is available.

Debtor’s name M 6 \9~9~€ /Q E.~A L'T IY L. L, C__

.L

2. A|| other names debtor used
in the last 8 years

 

 

 

include any assumed names,
trade names, and doing business
as names

 

 

 

t ttttttttta §§ __Mé_ g j §§

identification Number (E|N)

 

 

 

 

 

4_ Debtor’s address Principal place of business Mailing address, if different from principal place
V \ ¥ >“`EJ' of business
Number Street Number Street
P.O. Box
Q>FQU\LW\ /V”[ \\Wi
city l ‘ state l zlP code guy gate z|p Code

 

 

Location of principal assets, if different from
principal place of business

 

County

 

Number Street

 

 

City State Z|P Code

 

5. Debtor’s website (URL)

 

 

morpmation (inc|uding Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
l:l Partnership (exc|uding LLP)
cl Other. Specify:

6. Type of debtor

 

 

Offlcial Form 201 Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 1

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Debtor Case number (ilknown)
Narne

 

1. Describe debtor’s business A` Check °"e"

Cl He care Business (as deiined in 11 u.S.c. § 101(27A))
ingle Asset Rea| Estate (as defined in 11 U.S.C. § 101 (51B))

El Raiiroad (as defined in 11 u.s.c.§ 101(44))

Cl Stookbroker (as denned in 11 u.s.c. § 101(53A))

Cl commodity Broker (as denned in 11 u.S.c. § 101(6))

Cl clearing Bank (as derined in 11 u.S.c. § 781(3))

Cl None of the above

   

B. Check all that apply:

n Tax-exempt entity (as described in 26 U.S.C. § 501)

Cl investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

Cl investment advisor (as defined in 15 u.S.c. § aor»z(a)n 1))

 

 

s. Under which chapter of the Check one:
Bankruptcy Code is the
debtor nling? n Chapter 7
Cl chapters

Mapter 1 1 . Check all that apply.
y[)ebtor‘s aggregate noncontingent liquidated debts (exc|uding debts owed to
insiders or afti|iates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

n The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). |f the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax retum or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

n A plan is being filed with this petition.

Cl Acceptances of the plan were solicited prepetition from one or more classes of
oreditors, in accordance with 11 U.S.C. § 1126(b).

n The debtor is required to file periodic reports (for examp|e, 1OK and 10Q) with the
Securities and Exchange Commisslon according to § 13 or 15(d) of the Securities
Exchange Act of 1934. Fi|e the Attachmenf to Voluntary Petition for Non-lndividuals Filing
forBankruptcy under Chapter 11 (Ofticia| Form 201A) with this fonn.

Cl The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

 

 

12b-2.
n Chapter 12
9 Were prior bankruptcy cases w
filed by or against the debtor
within the last 8 years? n YeS. DiSff'id When CaSe number
MM/ DD/YYYY
lf more than 2 cases, attach a _ .
separate list. D'Sf"d When Case number
MM/ DD/YY¥Y
10. Are any bankruptcy cases »%
pending or being filed by a
business partner or an Cl Yes. Debtor Relationsnip
affiliate of the debtor? Dism.d When
List all cases. lf more than 1, MM / DD / YYYY
attach a separate list. ease number, if known

 

Official Form 201 Voluntary Petitlon for Non-lndividuals Filing for Bankruptcy page 2

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Debtor Case number (r'r)rnown)
Name

 

11. Why is the case filed in this Check all that apply:

district? .
Debtor has had its domiciie, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district

Cl A bankruptcy case concerning debtofs aftiiiate. general partner, or partnership is pending in this distn`ct.

 

12. Does the debtor own or have "Q»@,
possess'°n of any real n Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

 

 

 

 

 

 

 

 

 

property or personal property
that n§eds lmmediate Why does the property need immediate attention? (Check all that apply.)
attention?

n it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

Cl it needs to be physically secured or protected from the weather.

l:l it includes pen`shabie goods or assets that could quickly deteriorate or lose value without
attention (for exampie, iivestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

n Other

Where is the property?

Number Street
Ciiy state ziP code
is the property insured?

n No

n Yes. insurance agency

Contact name
Phone
-Statistical and administrative information
13. Debtor’s estimation of Check one:
ava'|able funds Funds will be available for distribution to unsecured creditors.

l:l Afier any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

MQ El 1,000-5,000 El 25,001-50,000

14' E‘°’ti"‘at°d number °f El 5099 El 5,001_10,000 El 50,001-100,000

°'°d"°'$ El 100199 El 10,001-25,000 El More than ioo,ooo

Ci 200-999
El sosso,ooo Ci $1,000,001s1o million El $500,000,001-$1 billion

15~ E~°’t"“ated assets El $50,001-$100,000 Ci $10,000,001-$50 million El $1,000,000,001-$10 billion
El $100,001-$500,000 El $50,000,001-$100 million El $10,000,000,001-$50 billion
N$%oo,ooi-m million El $100,000,001-$500 million El More than $50 billion

 

Offlciai Form 201 Voluntary Petition for Non-individuais Filing for Bankruptcy page 3

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Debtor N Case number tirlrnown)
_ _ _ _ _ El $0-$50,000 Ei $1,000,001-$10 million El $500 000 001-s1 billion
16' Est'mated "ab"'t'es Ei $50,001-$100,000 El $10,000,001-$50 million Ei $1,000,000,001-$10 billion
Ei s ,001-$500,000 Ei $50,000,001~$100 million Ei $10,000,000,001~$50 billion
$500,001-$1 million |;I $100,000,001-$500 million n More than $50 billion

 

- Request for Relief, Declaration, and Signatures

WARNiNG -- Banknlptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can resdt in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17- Declal'ati°n and Signature of a The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this
authorized representative of wion

debtor pe '

a i have been authorized to file this petition on behalf of the debtor.

lt i have examined the information in this petition and have a reasonable belief that the information is ime and
conect.

l declare under penalty of perqu that the foregoing is true and conect.

 

/71,»1¢£( / 626/19

Signature oWMhorized representative of debtor Printed name

Tit|e -)PDC& /"LEIIQ/\- `

 

 

 

 

 

ngfmmey x v W O“f tide ____¢’/

ure of attorney for debtor / DD / YYYY

3`¢> 5 L’\W @f`dv»t& 124/b
bb :_mt(d_n:r:A/l/V ?/P<~M c.O/o. aj U`J '\i mut A/`w rim%
wheth 'rmiiame \tjt,wt itt/t~Q/t~ iO[ L\»@
draaxxatt /Vy maul

 

 

 

 

:aa~#se :DYYW%MM
t,t;it§'i é…"l t/.Q`/

 

Officia| Form 201 Voluntary Petition for Non-|ndividua|s Filing for Bankruptcy page 4

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information to identify the cases

 

 

 

EiN _ _ - _______
Name
United States Bankruptcy Court for the: District of
(State) [Date case filed for chapter 11
MM / DD / YYYY oR
Case number: [Date case filed in chapter _______
MM /DD/YYYY
Date case converted to chapter 11 ]
MM / DD / YYYY

 

 

Ofiiciai Form 309F (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case 12/11

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefu||y.

The filing of the case imposed an automatic stay against most collection activities This means that creditors generally may not take action to
collect debts from the debtor or the debtor's property. For exampie, while the stay is in effect, creditors cannot sue, assert a denciency,

repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by maii, phone, or
otherwise Creditors who violate the stay can be required to pay actual and punitive damages and attomey’s fees.

 

 

Connrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge
may be required to die a complaint in the bankruptcy cierk's office within the deadline specined in this notice. (See line 11 below for more
information.)

To protect your rights, consult an attorney. Aii documents filed in the case may be inspected at the bankruptcy cierk's office at the address
listed below or through PACER (Pubiic Access to Court Electronic Records at www.pacer.gov).

 

The staff of the bankruptcy cierk's office cannot give legal advice.

 

Do not file this notice with any proof of claim or other filing in the case.

 

_\

 

.Debtor’sfuilname /l/\ 6 l§id_é £@€vl‘l_e’/ L l_ C.t

2. Aii other names used in
the last 8 years

 

""“""“ last \l\si Ylwlr j bfo°l‘l"/”"Y' law

 

§EE_, l s§>£ ~_,0§»@¢
4. Debtor’s attorney C°mad phone U. . t ~ v
Emaii gv__\r,[ § §§ Qg»'

 

 

Name and address l

5. Bankruptcy cierk's office
Documents in this case may be
filed at this address C°mad phone
You may inspect ali records filed
in this case at this office or

on|ine at www.pacer.gov.

Hours open

6. Meeting of creditors

 

The debtor's representative at _ Location-
must attend the meeting to be Date Tlme

questioned under oath.

Creditors may attend, but are The meeting may be continued or adjourned to a later

not required to do so. date. if so, the date will be on the court docket.

 

For more infon'natlon, see page 2 >

Ofiicia| Form 309F (For Corporations or Partnerships) Notice of Chapter 11 Bankruptcy Case page 1

 

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Debtor

Case number (if)rnow,.)

 

Name

 

1. Proof of claim deadline

a. Exception to discharge
deadline
The bankruptcy cierk's ofhce
must receive a complaint and
any required filing fee by the
following deadline.

Deadline for filing proof of ciaim: [Not yet set. if a deadline is set, the court will send
you another notice.] or

[date, if set by the couit)]
A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
www.gscouits.gov or any bankruptcy cierk's office.
Your claim will be allowed in the amount scheduled unless:

§§ your claim is designated as disputed, contingent or unliquidated
ou file a proof of claim in a different amount; or
§‘< you receive another notice.

  

if your claim is not schedued or if your claim is designated as disputed, contingent or unliquidated, you must file
a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may tile
a proof of claim even if your claim is scheduled.

You may review the schedules at the bankruptcy cierk's ofhce or online at vnivw.p_age£.gt_>y.

Secured creditors retain rights in their collateral regardless of whether they file a proof of ciaim. Filing a proof of
claim submits a creditor to the jurisdiction of the bankruptcy court. with consequences a lawyer can explain. For
example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including
the right to a jury triai.

if § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
proceeding by filing a complaint by the deadline stated below.

Deadline for filing the compiaint:

 

9. Creditors with a foreign
address

if you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
extend the deadlines in this notice. Consult an attomey familiar with United States bankruptcy law if you have
any questions about your rights in this case.

 

10. Filing a Chapter 11
bankruptcy case

Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
conflnns it. You may receive a copy of the plan and a disclosure statement telling you about the plan. and you
may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and
you may object to confirmation of the plan and attend the confirmation heanng. Unless a trustee is serving, the
debtor will remain in possession of the property and may continue to operate its business.

 

 

11. Discharge of debts

Confinnation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor
except as provided in the pian. if you want to have a particular debt owed to you excepted from the discharge
and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and paying the filing
fee in the bankruptcy cierk's office by the deadline.

 

Ofncial Form 309F (For Corporations or Paltnerships) Notice of Chapter 11 Bankruptcy Case page 2

 

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Oti'icial Form 201A (12/15)

[lfdebzor rs required tojz`le periodic reports (e g, forms 10K and 10Q) with the Securities and Exchange Commission

pursuant to Section 13 or 15(d) of the Securities Exchange A ct 0f1934 and is requesting relief under chapter I 1 ofihe
Bankruptcy Code, this Exhibit ’A ”shall be completed and attached to the petition ]

[Caption as in Form 416B]

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

l. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is

2. fThe following financial data is the latest available information and refers to the debtor’s condition on

 

 

 

 

 

 

a.Total assets $ l 600 eeo

b. Total debts (including debts listed in 2.c., beiow) $ /{O 04 00 m

c. Debt securities held by more than 500 holders
Approximate
number of
holders:

secured [J unsecured l:l subordinated l:i $

secured l:i unsecured l:i subordinated l:| $

secured l:i unsecured l:i subordinated l:i $

secured l:i unsecured l:i subordinated l:i $

secured [J unsecured l:i subordinated [J $

 

d. Number of shares of preferred stock
e. Number of shares common stock z §

Comments, if any:

 

 

 

`l’L’LlO i,t.i" blow IdlLa/v@"

3. Br1ef descr1pt10n f debt 1J busi{l ess: . 1
\_i artt whit etsi air tang \ni'~i tim

JL

/\ l 13 l .i \
irl gur\YA‘“`/‘v'y,` T,`!JWU`
4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor: ' `

 

1 ii f i l 4
t `\e<iiitii stowe/haar
//i 5'\%{ 1/1,<,

 

 

Ot`t’iciai Form 201A Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter ll

